Case 4:20-cv-00068-RWS-CMC Document 168 Filed 01/20/21 Page 1 of 3 PageID #: 4062



                          IN THE UNITED STATES DISTRICT COURT
                            OF THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

   JUAN LOZADA-LEONI                             §
                                                 §
   V.                                            §              No. 4:20CV68-RWS-CMC
                                                 §
   MONEYGRAM INTERNATIONAL,                      §
   INC., ET AL.                                  §


                                                ORDER


          The above-referenced cause of action was referred to the undersigned United States

   Magistrate Judge for pretrial purposes in accordance with 28 U.S.C. § 636. The following pending

   motions are before the Court: (1) Defendant MoneyGram International, Inc.’s Motion for Summary

   Judgment, and Brief in Support (Docket Entry # 83); and (2) Defendants’ Motion for Summary

   Judgment, and Brief in Support (Docket Entry # 109).

          On October 19, 2020, the undersigned entered a 138-page Report and Recommendation,

   recommending Defendants’ motions for summary judgment be denied. See Docket Entry # 127. In

   the Report and Recommendation, the undersigned advised the parties that within fourteen days after

   service of the report, any party must serve and file specific written objections to the findings and

   recommendations contained in the report. On October 26, 2020, Kardell Law Group PC (“KLG”),

   Plaintiff Juan Lozada-Leoni’s former counsel who withdrew by Order dated April 15, 2020, filed

   a Motion for Leave to Intervene. Docket Entry # 128.

          Two days later, Plaintiff and Defendants, Moneygram International, Inc. and Moneygram

   Payment Systems, Inc., filed a Joint Motion to Stay All Deadlines and Notice of Settlement, advising

   the Court that all matters in controversy between the parties have been settled in principle. Docket
Case 4:20-cv-00068-RWS-CMC Document 168 Filed 01/20/21 Page 2 of 3 PageID #: 4063




   Entry # 130. On October 29, 2020, the Court granted the Joint Motion to Stay All Deadlines and

   Notice of Settlement, ordering that all deadlines in the above-referenced cause of action were stayed

   for thirty days pending finalization of the settlement. Docket Entry # 131. The Court ordered

   the parties or their counsel to submit to the Court all papers necessary for the closing of this case

   and its removal from the active docket of the Court within thirty days from the date of entry of the

   Order.

            On November 13, 2020, Plaintiff and proposed Intervenor KLG filed a Joint Motion for

   Entry of Scheduling Order Regarding Attorney Fee Dispute. Docket Entry # 132. Defendants

   expressed no interest in the issue. The Court granted the joint motion on November 16, 2020,

   ordering Plaintiff and KLG to submit briefing on the relative positions regarding the attorney fee

   dispute. Docket Entry # 133. Thereafter, the Court revised the pleading schedule. See Docket

   Entry #s 152, 155. The briefing is ripe for consideration.

            A hearing may be helpful in resolving the disputed attorney fee issue, but such a

   hearing, whether via video conference or in person, has not yet been scheduled. Meanwhile, the

   substantive matters between Plaintiff and Defendants have been resolved, and all deadlines are

   stayed pending finalization of dismissal papers. As such, the summary judgment motions

   addressed in the October 19, 2020 Report and Recommendation technically remain pending.

            Given the posture of the case, the length of time Defendants’ motions have been pending,

   and the additional time needed to resolve the separate attorney fee issue between Plaintiff and

   proposed Intervenor KLG, the Court sua sponte DENIES WITHOUT PREJUDICE TO

   REFILING Defendants’ motions for summary judgment. Neither Plaintiff nor Defendants will

   be prejudiced in any way by this Order.
            Based on the foregoing, it is
                                                    2
Case 4:20-cv-00068-RWS-CMC Document 168 Filed 01/20/21 Page 3 of 3 PageID #: 4064



         ORDERED that Defendant MoneyGram International, Inc.’s Motion for Summary

   Judgment, and Brief in Support (Docket Entry # 83); and Defendants’ Motion for Summary

   Judgment, and Brief in Support (Docket Entry # 109) are DENIED WITHOUT PREJUDICE TO

   REFILING.

        SIGNED this 20th day of January, 2021.




                                                 ____________________________________
                                                 CAROLINE M. CRAVEN
                                                 UNITED STATES MAGISTRATE JUDGE




                                             3
